          Case 1:19-cv-00727-APM Document 5 Filed 05/21/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                             )
OLEG DERIPASKA,                              )
                                             )
               Plaintiff,                    )
                                             )
         v.                                  )       Civil Action No. 1:19-cv-00727
                                             )
STEVEN T. MNUCHIN, Secretary of              )
the Department of the                        )
Treasury, et al.,                            )
                                             )
               Defendants.                   )
                                             )


               NOTICE OF FILING OF CERTIFIED LIST OF CONTENTS
                         OF ADMINISTRATIVE RECORD


       Pursuant to Local Rule 7(n)(1) and the Court’s scheduling order, ECF No. 4, attached

hereto is a certified index of the contents of the Administrative Record in this case. A redacted

copy of the Administrative Record was transmitted to counsel for plaintiff on April 29, 2019.

Dated: May 21, 2019                                  Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     DIANE KELLEHER
                                                     Assistant Director

                                                      /s/ Nicholas Cartier                          .
                                                     NICHOLAS CARTIER
                                                     Trial Attorney (DC Bar # 495850)
                                                     U.S. Department of Justice
                                                     1100 L Street, N.W.
                                                     Washington, DC 20005
                                                     Tel: (202) 616-8351


                                                     Attorneys for Defendants
         Case 1:19-cv-00727-APM Document 5-1 Filed 05/21/19 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                              )
OLEG DERIPASKA,                               )
                                              )
               Plaintiff,                     )
                                              )
         v.                                   )       Civil Action No. 1:19-cv-00727
                                              )
STEVEN T. MNUCHIN, Secretary of               )
the Department of the                         )
Treasury, et al.,                             )
                                              )
               Defendants.                    )
                                              )


                   CERTIFICATION OF ADMINISTRATIVE RECORD

       I, Leila Baheri, declare as follows:

   1. I am currently employed as the Assistant Director in the Global Weapons of Mass

Destruction (WMD), Middle East Europe & Russia Division (GME) of the Office of Global

Targeting at the U.S. Department of the Treasury, Office of Foreign Assets Control (OFAC).

   2. I have served in this capacity since 2017. I have been employed by OFAC since 2003,

first as a Sanctions Investigator, later as a Section Chief and then Assistant Director of other

Divisions within OGT, before assuming my current position. I lead a unit within OFAC that is

responsible for, among other things, designations under Executive Order 13661 of March 16,

2014, “Blocking Property of Additional Persons Contributing to the Situation in Ukraine,”

Executive Order 13662 of March 20, 2014, “Blocking Property of Additional Persons

Contributing to the Situation in Ukraine,” and the Ukraine Related Sanctions Regulations, 31

C.F.R. Part 589. As such, I am authorized to certify the truth and correctness of official records

of OFAC, and of other documents recorded or filed with OFAC.
         Case 1:19-cv-00727-APM Document 5-1 Filed 05/21/19 Page 2 of 4



   3. The facts attested to herein are based on my personal knowledge or information made

available to me in the course of my official duties.

   4. I hereby certify to the best of my knowledge and belief that the documents described in

the attached index constitute a true, correct, and complete copy of the non-privileged documents

that were directly or indirectly considered in connection with OFAC’s decision to designate

plaintiff Oleg Deripaska. The administrative record, as well as the index, was redacted to

remove classified or privileged information, before production to the Plaintiff.



In accordance with 28 U.S.C. § 1746, I certify and declare, under penalty of perjury, that the

foregoing is true and correct to the best of my knowledge, information, and belief.



Dated: May 21, 2019                            /s/ Leila Baheri
                                              Leila Baheri
                                              Assistant Director
                                              Global WMD, Middle-East, Europe & Russia
                                              Office of Global Targeting
                                              Office of Foreign Assets Control
                                              U.S. Department of the Treasury
                                              1500 Pennsylvania Avenue, N.W.
                                              Freedman’s Bank Building
                                              Washington, DC 20220
Case 1:19-cv-00727-APM Document 5-1 Filed 05/21/19 Page 3 of 4
Case 1:19-cv-00727-APM Document 5-1 Filed 05/21/19 Page 4 of 4
